Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 1 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 2 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 3 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22     Page 4 of 51




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Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 5 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 6 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 7 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 8 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 9 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 10 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 11 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 12 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 13 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 14 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 15 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 16 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 17 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 18 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 19 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 20 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 21 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 22 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 23 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 24 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 25 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 26 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 27 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 28 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 29 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 30 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 31 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 32 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 33 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 34 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 35 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 36 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 37 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 38 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 39 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 40 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 41 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 42 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 43 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 44 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 45 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 46 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 47 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 48 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 49 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 50 of 51
Case 17-34386-sgj7 Doc 1 Filed 11/29/17   Entered 11/29/17 10:46:22   Page 51 of 51
